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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON ])IVISION

IN RE; §
§

BENI)Co,INC. § CASE No.18~30849
§

I)EBToR § CHAPTER 11

DEBTOR’S MO'I`ION FOR OR])ER PURSUANT TG
BANKRUPTCY CODE SECTI()N 364 CONFIRMING DEB'I`OR’S
AU'I`HORITY TO ENTER INTO INSURANCE PREMIUM FINANCING
AGREEMENT WITH IPFS CORPORATION

THIS M()TION SEEKS ENTRY OF AN ORDER THAT MAY A})VERSELY AFFECT YOU.
IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE I)ISPUTE. IF YOU ANI) THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS
OF THE DATE rl`HIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
THE MOTION SHOULD NOT BE GRANTED. IF YOU BO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOU'I` FURTHER NOTICE TO YOU.
IF YOU OPPOSE 'I`HE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU
MUST ATTEND STHE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, TI~IE
COURT MAY CONSIDER EVIDENCE AT THE I~IEARING AND MAY DECIDE THE
MOTION AT THE HEARING,

REPRESENTED PAR'I`IES SHOULD ACT THROUGH THEIR ATTORNEY.
To The Honorable United States Banl<ruptcy Judge:

Bendco, lno. (“Bendco” or the “Debtor”) hereby moves (the “Motion”) this Court for entry
of an order (the “Order”), pursuant to Seot`lons 362, 363, and 364(0)(2) of Title 11 of the United
States Code (the “Bankruptcy Code”), Ruie 4001 ofthe F ederal Rules of Bankruptcy Procedure (the
“Bankruptey Rules”), and Rule 4001-1(1))(0)(2) of the Loeai Rules of Bankruptcy Praetice and
Proeedure of the United States Bankruptoy Court for the Southern District of Texas (the “Local

Bankruptey Rules”), confirming the authority of the Debtor to enter into an insurance premium

 

 

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financing agreement (the “IPFS”), attached Exhibit A ro the proposed Order annexed hereto, With

IPFS Corporation (“iPFS”), and granting reiated relief as further described herein. In support of the

Motion, the Debtor, by and through its undersigned counsel, respectfully represents:
JURISDICTION AND VENUE

l. This Court has jurisdiction to consider the Motion under 28 U.S.C. §§ 157 and
1334. This is a core proceeding under 28 U.S.C.§ 157(b). Venue of this case and the Motion in this
district is proper under 28 U.S.C. §§ 1408 and 1409.

2. The legal predicates for the relief requested here are Bankruptcy Code Sections
362, 363, and 364(0)(2), and Bankruptcy Rule 4001.

3. Debtor consents to entry of a final judgment or order With respect to the Motion if
it is determined that this Court Would iacl< Article III jurisdiction to enter such final order or
judgment absent the consent of the parties.

BACKGROUND
A. 0verview of the Debtor’s Premiunl Financing Agreements.

4. The general liability, excess liability, property and equipment
lnsurance Policies (the “Pre-Petition Insurance Policies”) expired pre~petition. And the Debtor, in
the exercise of its reasonable business judgment and to comply With the requirements imposed by
the U.S. Trustee for the Southern DiStrict ofTexas, is seeking to acquire lnsurance Poiicies essential
to the preservation of value of the Debtor’s business, property and assets, and accordingiy, in the
ordinary course of its business, Debtor desires to enter into new insurance policy agreements (the
“Financed Insurance Policies”).

5. The Debtor has determined, in the exercise of its reasonable business judgment,

that it is unabie to prepay for the insurance coverage now under contract, therefore, it Would be more

 

 

 

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economically advantageous to finance a portion of the premiums on the lnsurance Poiicies.
Accordingiy, the Debtor seeks confirmation of its authority to enter into the attached Premium
Finance Agreements (“PFA’s”) to finance the Premiums associated With the Insurance Poiicies.
IPFS has requested, as a condition to providing the tinancing, that the Debtor seek entry of a separate
order to ensure that the particular Premiums being financed and the protections provided under the
PFA, including the security interests granted to IPFS Corporation, are approved by this Court.

6. To secure its obligation under the PFA, the Debtor Wiil grant a security interest to
iPFS in: (a) any and all unearned premiums and dividends which may become payable under the
Financed lusurance Policies for any reason; (b) ioss payments Which reduce the unearned premiums,
subject to any mortgagee or loss payee interest; and (c ) any interest which may arise under any state
insurance guarantee fund relating to the Financed lnsurance Poiicies (coliectively, the “Collaterai”).
Additionally, the PFA will grant IPFS Corporation a limited power of attorney with full authority
to cancel the insurance Policies and obtain the return of any unearned premiums in the event of a
default in the payment of any installment due.

7. Pursuant to Banl<ruptcy rule 400l(c)(l)(B), the following is a summary of the key

 

 

 

 

 

 

 

provisions of the PFA.
Summary of PFA Provisions

Amount Financcd $38,360.88

Interest Rate % as refiected on the face of the attached exhibits

Maturity The Debtor will make 10 installments beginning Apri| 20, 2018, with the East
payment being January 20, 2019.

Event of Default Nonpayment of installment payments

Security Interest IPFS is granted a security interest irl: (a) any and all unearned premiums and
dividends which may become payable under the Financed insurance Policies; (b)
loss payments Wliich reduce unearned premiurns, subject to any mortgagee or
ioss payee interests; and (c) any interest in any state guarantee fund relating to
any Financed Insurance Poiicy.

 

 

 

 

 

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Power of Attorney Power of Attorney granted to IPFS to cancel the Financed Insurance Poiicies for
payment default, to receive sums assigned to iPFS and to deliver documents
reiating to the Financed Insurance Policies.

 

Cancellation IPFS may cancel the Financed Insurance Policies upon Debtor’s failure to make
payments when due.

 

Waiver of Alltomatic Stay rfile proposed order allows lPFS to cancel the Financed Insurance Policies
without further application to this Court.

 

 

 

 

 

 

Conditions/F`ees Finance Charge: $2,181.44
Waiver/Limitation of IPFS liability for breach of any of the terms of this agreement or the Wrongful
Liabi|ity exercise of any of its powers shali be limited to the amount of the principal
balance outstanding except in the event of gross negligence or Wiiifui
misconduct
RELIEF REQUESTED

8. By the l\/iotion, the Debtor seeks entry of an Order, pursuant to Bankruptcy Code
Sections 362, 363, and 364(0)(2), and Bankruptcy Rule 4001 confirming its authority to: (a) enter
into the PFA with IPFS to finance the Premiums associated with the Financed Insurance Policies and
(b) grant lPFS certain protections related to the PFA, as described herein. The Debtor believes that
this is an ordinary course transactionl However, Debtor is filing this l\/lotion at the request of IPFS
to obtain a Court Order specifically pertaining to this PFA.

9. The Debtor has determined, in its business judgment, that it is more cost effective
to finance a portion of the Premiums and that entry into the PFA will provide the Debtor with the
liquidity and flexibility for operations Additionally, a reflected in the attached Exhibits, the Debtor
anticipates that the interest rate will be less expensive than other sources of capital

l0. For the foregoing rcasons, the Debtor does not believe it is required to seek Court
approval into the PFA with iPFS. However, IPFS has requested that the Debtor seek entry of a
separate Court Order to ensure Court approval of the particular premiums being financed and that

the security interests granted pursuant to the PFA are valid under Section 364(0)(2). Accordingly,

 

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the Debtor is seeking an order of the Court confirming its authority to enter into the PFA.

B. Entry into the Premium Financing Agreement is Authorized Under Bankruptcy
Code Section 364(c).

l l. Although the Debtor believes that it is authorized to enter into the PFA with IPFS
in the ordinary course of its business pursuant to the insurance Order, the Debtor also submits that
Bani<ruptcy Code Section 364(0)(2) authorizes the Debtor to enter into the PFA, as entry into the
PFA is in the best interests of the estate.

12. Bankruptcy Code Section 364(c)(2) allows a debtor, in the exercise of its business
judgment, to incur secured postpetition debt, if the Debtor has been unable to obtain unsecured credit
and the borrowing is in the best interests of the estate. il U.S.C. § 364 (c); see, e.g., fn re Ames
Dep’r‘ Stores, 115 B.R. 34, 38 (Bankr. S.D.N.Y. 1990) (stating that with respect to postpetition
credit, courts “permit debtors~in~possession to exercise their basic business judgment consistent with
their fiduciary duties”).

13. The Debtor’s entry into the PFA with IPFS is necessary to protect the assets of the
estate from diminishment due to a lapse insurance coverage IPFS is willing to finance the Debtor’s
insurance premiums on the Financed insurance Policies only if it is granted a security interest in the
limited universe of Collateral, the insurance policies themselves Given the unique financing at
issue, the Debtor does not believe it could obtain this type of financing on better terms on a
unsecured basis. Because the Debtor is required to maintain insurance coverage during the Chapter
l l case, it would be particularly problematic if the Debtor was not authorized to enter into the PFA.

14. Additionally, as set forth more fully in the proposed Order, the PFA contemplates
a modification of the automatic stay established pursuant to Banl<ruptcy Code Section 362 to permit

lPFS to take certain actions permitted under the PFA to enforce certain remedies against the

 

 

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Collateral without having to obtain any further of this Court. The Debtor submits that stay
modification provisions such as these are ordinary and usual feature of postpetition premium
financing agreements and, in the Debtor’s business judgment, are reasonable under the present
circumstances Accordingly, the Debtor respectfully requests the Court to authorize the modification
of the automatic stay in accordance with the terms set forth in the proposed Order.

l5. l\/loreover, maintenance of the Debtor’s lnsurance Policies is essential to
continuing the Debtor’s operations and protecting its estate and creditors against liability for injuries
or damages that may arise. Additionally, the lnsurance Policies are required by various regulations,
laws and contracts that govern the Debtor’s commercial activities l\/ioreover, Bankruptcy Code
Section lll2(b)(4)(C) provides that “failure to maintain appropriate insurance that poses a risk to
the estate or to the public” is “cause” for mandatory conversion or dismissal of a Chapterll case.
U.S.C. § lllZ(b)(4)(C).

l6. Based on the foregoing, the Debtor submits that the relief requested herein is in
the best interest of the Debtor, its estate, creditors, stakeholders and other parties in interest, and is
consistent with the Insurance Order, and, therefore, should be granted

WAIVER OF STAY UNDER BANKRUI’TCY RULE 6004(b)

17. The Debtor requests that the Court waive the stay imposed by Banl<ruptcy Rule
6004(h), which provides that “la]n order authorizing the use, saie, or lease of property other than
cash collateral is stayed until the expiration of 14 days after entry of the order, unless the court orders
otherwise.” Fed. R. Banl<r. P. 6004(h). As described above, the relief that the Debtor seeks in this
Motion is necessary for the Debtor to operate its business without interruption and to preserve value
for its estate. Accordingly, the Debtor respectfully requests that the Court waive the fourteen (l4)

day stay imposed by Bankruptcy Rule 6004(h), to the extent applicable, as the exigent nature of the

 

 

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relief sought herein justifies immediate relief
NOTICE

l8. Notice of the Motion will be given to: (i) the Office of the United States Trustee
for the Southern District of Texas; (ii) counsel to the Debtor’s prepetition secured lenders; (iii)
lPFS; and (iv) all parties entitled to notice pursuant to Banl<ruptcy Rule 2002. The Debtor submits
that no other or further notice need be provided

NO PRIOR REQUEST

19. No previous request for the relief sought herein has been made to this or any other

court.
CONCLUSION

WHBREFORE, the Debtor respectfully requests that the Court enter an Order,

substantially in the form annexed hereto, granting the relief requested in the Motion and such

other and further relief as may be just and proper.

Respectfully submitted,

FUQUA & ASSOCIATES, PC

BY: /s/ Rz`chard L. Fucma
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COUNSEL FOR DEBTOR

 

 

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CERTIFICATE OF SERVICE
l hereby certify that a true and correct copy of the foregoing was forwarded by ECF
and/or regular United States mail, postage prepaid, on April 20"‘, 2018 to the parties listed below
and to all parties listed on the attached service list.

John McCawley

Major Award lnc.

dba Coastal Group & Associates
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League City, TX 77573

lPFS Corporation
301 West ll‘l' St., 4“‘ Floor
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/s/ Ric'hm'ul L. Fuuuu
Richard L. Fuqua

 

 

